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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DISMISSAL OF SUIT
‘DOCKET NUMBER: 07-3159

IN RE: VIOXX® )
LIABILITY LITIGATION ) MDL DOCKET NO. 1657
)
)
THIS RELATES TO: ) PLAINTIFFS’ VOLUNTARY
)
)
)

Mary R. Dalrymple, et al. v. Merck & Co)

THIS MATTER, having been brought on behalf of the plaintiffs in the above-
entitled matter, and on an ex parte basis before the undersigned Judge of the above-entitled
Court, and the Court being fully advised in all matters, Now Therefore, It Is
ORDERED that this action is hereby dismissed, with prejudice, with no costs to be awarded to
either party.

New Orleans, Louisiana, this day of , 2007,

ELDON E. FALLON

UNITED STATES DISTRICT JUDGE
re Lat dby:
Ao Woe
‘Oy

ROGERS 8. WILSON, WSBA #5405
Attorney for Plaintiff

AGREED this 3 Q a7 © day of LE Obed, oN , 2007.

Ltd LR. a, 2 & a“

Plaintiff

ROGERS §. WILSON
Attorney at Law

918 North Yakima
PLAINTIFFS’ VOLUNTARY Tacoma, Washington 98403

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AGREED this 8th day of November, 2007.

deutza, of . nlyo.

Dorothy HAV imberly, 18509
STONE PIGMAN WALTHER
WITTMANN L.L.C.

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Defendants’ Liaison Counsel

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